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                        IN THE UNITED STATES DISTRICT COURT
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                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                      SAN JOSE DIVISION
19
     JOHN STOSSEL, an individual,              Case Number: 5:21-cv-07385-VKD
20
                               Plaintiff,      [PROPOSED] ORDER ON DEFENDANT
21
                                               META PLATFORMS, INC.’S MOTION
           v.                                  TO DISMISS COMPLAINT AND
22
                                               SPECIAL MOTION TO STRIKE
     FACEBOOK, INC., a Delaware corporation;
23                                             COMPLAINT UNDER CALIFORNIA’S
     SCIENCE FEEDBACK, a French non-profit
                                               ANTI-SLAPP STATUTE
24   organization; and CLIMATE FEEDBACK, a
     French non-profit organization,
25
                               Defendants.
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                                                                       [PROPOSED] ORDER
                                                               Case No. 5:21-CV-07385-VKD
      Case 5:21-cv-07385-VKD Document 27-6 Filed 11/29/21 Page 2 of 2




 1                                        [PROPOSED] ORDER

 2           Before the Court is Defendant Meta Platforms, Inc. (“Meta”)’s Motion to Dismiss
 3   Complaint and Special Motion to Strike Complaint Under California’s Anti-SLAPP Statute
 4   (“Anti-SLAPP Motion”). Having considered the motions, the memorandum of points and
 5   authorities in support thereof, the opposing and reply papers, and the arguments of counsel at the
 6   hearing, and good cause appearing,
 7   IT IS HEREBY ORDERED that:
 8           1.      Meta’s Motion to Dismiss the Complaint is GRANTED. Amendment would be
 9   futile, and Plaintiff John Stossel’s Complaint is accordingly DISMISSED WITH PREJUDICE in
10   its entirety.
11           2.      Meta’s Anti-SLAPP Motion is GRANTED. Plaintiff John Stossel’s defamation
12   claim is struck, without leave to amend.
13           3.      Meta is awarded fees and costs pursuant to California Code of Civil Procedure
14   § 425.16(c)(1).
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             IT IS SO ORDERED.
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      Dated: ________________________
18                                                            By: Hon. Virginia K. DeMarchi
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                                                                                    [PROPOSED] ORDER
                                                                            Case No. 5:21-CV-07385-VKD
